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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 08-CIV- 80893 - MARRA/JOHNSON

JANE DOE,
Plaintiff,

v.

JEFFREY EPSTEIN,
Defendants.

/

 

EPSTEIN’S MOTION IN LIMINE TO EXCLUDE CERTAIN
TESTIMONY AND OPINIONS OF JANE DOE’S EXPERT WITNESS

Defendant, JEFFREY EPSTEIN (“Epstein”), moves in limine to exclude certain
testimony and opinions of Plaintiff's, JANE DOE (“Jane Doe”), expert witness, L. Dennison
Reed, Psy.D., and in support states:

1. Epstein requests the Court exclude the following testimony and/or opinions of
Jane Doe’s expert witness, L. Dennison Reed, Psy.D:

a. Any testimony related to the “grooming” process as the evidence contradicts the
notion that Epstein “groomed” Jane Doe and the issue is therefore irrelevant;

b. Any testimony or opinions that Epstein “groomed” Jane Doe, or any opinion
regarding Epstein for that matter as Dr. Reed has not examined Epstein and has
no basis to offer any such opinions;

c. Any testimony regarding the Palm Beach Police Report or Probable Cause
Affidavits as they do not mention or refer to Jane Doe and are therefore irrelevant.
They also constitute inadmissible hearsay and double-hearsay;

d. Any testimony or opinions that Jane Doe has been damaged by the criminal
justice system, that Epstein received a “lenient” sentence and that Epstein would
have died in prison if convicted of all he crimes committed. These issues are
irrelevant and any purported relevance is substantially outweighed by the danger
of unfair prejudice, confusions of issues, misleading the jury, undue delay and
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waste of time. More importantly, Dr. Reed is not an expert on the criminal justice
system. He is merely parroting Plaintiff's counsel’s theme;

e. Any testimony criticizing or disparaging Epstein’s counsel’s deposition
questioning or any suggestion that Epstein’s counsel acted improperly during

discovery;

f. Any testimony or opinions regarding a diagnosis of Jane Doe as Dr. Reed testified
he did not make any diagnoses;

g. Any testimony or opinions regarding the cost of future care or treatment of Jane
Doe as Dr. Reed testified he did not make any such determination.

Applicable Legal Principals Regarding Expert Testimony

2. For expert testimony to be admissible, the proponent must demonstrate that: (1)
the expert is qualified to testify regarding matters he intends to address; (2) the methodology by
which the expert reaches his conclusions is sufficiently reliable; and (3) the testimony assists the
trier of fact, through the application of scientific, technical, or specialized expertise, to
understand the evidence or to determine a fact in issue. See Corwin v. Walt Disney, 475 F.3d
1239, 1250 (11th Cir. 2007).

3. The Supreme Court’s Daubert decision requires that the trial court act as
“gatekeepers” to ensure that speculative, unreliable expert testimony does not reach the jury. See
McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256 (11th Cir. 2002).

4, Since expert testimony may be assigned talismanic significance in the eyes of lay
jurors, the district court must take care to weigh the value of such evidence against its potential
to mislead or confuse. See Owaki v. City of Miami, 491 F. Supp.2d 1140, 1161 (S.D. Fla. 2007).
Expert testimony will not assist the jury when it offers nothing more than what lawyers for the

parties can argue in closing argument. Id. at 1160 (internal citations omitted).
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5. A district court may exclude expert testimony if the analytical gap between the
data and opinion offered is too great. See Norfolk Southern Corp. v. Chevron U.S.A... Inc., 279
F, Supp.2d 1250, 1269 (M.D. Fla. 2003), rev’d on other grounds 371 F.3d 1285 (11th Cir. 2004).

6. An expert may rely on inadmissible evidence in forming his or her opinion if the
evidence is of a type reasonably relied upon by experts in the particular field. See Fed. R. Evid.
703. However, the court should examine trustworthiness and reliability of inadmissible hearsay
statements relied upon by an expert before permitting expert to testify regarding such hearsay
statements. See Vann v. St. Paul Fire and Marine Ins. Co., 173 B.R. 759, 768 (N.D. Fla. 1994).

7. On the other hand, an expert cannot not “reasonably rely” exclusively on
inadmissible facts or data. See Carratell v. State, 832 So. 2d 850, 861 (Fla. 4th DCA 2002). For
example, it would be impermissible for an accident reconstruction expert to opine on the point of
impact based only on the hearsay statements of bystanders. Id. at 862

Dr. Reed’s Evaluation of Jane Doe

8. Dr. Reed was retained by Jane Doe on March 8, 2010, less than one month before
expert reports were due and over one and half years after Jane Doe filed her case. See 6/22/10
Deposition of L. Dennison Reed, Psy.D. (“Reed Dep”) at 102.

9, Jane Doe was scheduled to meet with Dr. Reed on March 20, 2010, but cancelled
on March 19th due to a “scheduling conflict.” Id. at 195. Jane Doe’s cancellation concerned Dr.
Reed because his report was due in thirteen days, on April 2, 2010, or Jane Doe wouldn’t have
an expert. Id.

10. The appointment was rescheduled for March 22, 2010, from 9:00 a.m. to 5:00
p.m. Id. at 199. However, Jane Doe arrived at Dr. Reed’s office at 11:45 a.m., two hours and

forty-five minutes late. When she finally arrived, Jane Doe said “quite honestly, the evaluation
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wasn’t the first thing on my mind when I woke up this morning [which was one hour after the
evaluation was scheduled to begin].” Id.

11. Dr. Reed admitted that due to the time constraints, if he came to an adverse
conclusion regarding Jane Doe, she would essentially be locked in to said opinion because Dr.
Reed was the only expert retained by Jane Doe. Id. at 105.

The Court Should Exclude Testimony Regarding “Grooming”

12. In his report (attached as Exhibit A), Dr. Reed dedicates eight (8) pages to
describing Epstein’s modus operandi of “srooming” Jane Doe.

13. Dr. Reed describes grooming as a “manner of psychologically manipulating
children so that they will be compliant victims.” See Exhibit A at 9,

14. Importantly, grooming is a “process” that occurs “over_a period of time.” See
Reed Dep at 229-30.

15. Dr. Reed compares grooming to adult courting:

the adult seducer ... tries to impress the prospective romantic
partner ... shows concern for the partner's well-being; responds
empathically to the partner’s expressed difficulties; and showers
the partner with material enticements and rewards, e.g. taking the
partner out to dinner, buying the partner gifts, and so on. If these
seduction strategies are successful, the prospective partner freely
chooses to reciprocate in a fashion that pleases the seducer, for
example by becoming sexually responsive, or by becoming a loyal
partner.

See Exhibit A at 9-10.

16. “The forging of an emotional bond through grooming leads to physical contact.
Predators use the grooming process to break down a child’s defenses and increase the child’s

acceptance of touch. The first physical contact ... is often nonsexual touching.” See Gregory M.

Weber, Grooming Children jor Sexual Molestation,
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http://www.vachss.com/guest_dispatches/grooming. html (emphasis added). Mr. Weber, the

author of the foregoing article, is an Assistant Attorney General for the State of Wisconsin
specializing in the prosecution of crimes committed against children.

17. Since grooming is a process that occurs “over a period of time” and “leads to
physical contact,” it clearly does not apply in the instant case.

18. Jane Doe asserts that “Epstein unexpectedly began making sexual advances
towards her the first time that she went to his home....” See Exhibit A at 14 (emphasis added).
She explained, “J just didn’t want to do anything to upset somebody who had total control over
me in that situation” and that “saying ‘no’ to this powerful adult was not an option.” Id. at 13-
14.

19. This description is directly at odds with the grooming process and does not
support the theory that Epstein was trying to impress Jane Doe or obtain her trust “over a period
of time” so she would “freely choose to reciprocate ... by becoming sexually responsive.” See
Exhibit A at 9-10.

20. Instead, Jane Doe plainly asserts that Epstein unexpectedly made sexual advances
towards her the first time she went to his house. Jane Doe also testified that Epstein introduced
himself, shook her hand and then told her to take her clothes off. See 9/30/09 Deposition of Jane
Doe (“Doe Dep.”) at 224. Jane Doe clearly was not groomed by Epstein; she took off her clothes
within minutes of shaking his hand.

21. Moreover, Jane Doe was not “psychologically manipulated” to become a
“compliant victim” because she refused to comply with Epstein’s alleged request for oral sex
and/or intercourse. Dr. Reed’s assertion in his report that Jane Doe “felt as though resisting or

say ‘no’ to this powerful adult was not an option,” is contradicted on the following page later by
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the assertion that Jane Doe “declined ... to engage in oral sex or intercourse with Epstein.” See
Exhibit A at 13-15.

22. Thus, the issue of grooming is irrelevant to Jane Doe’s claims and any testimony
by Dr. Reed in that regard should be excluded as the “analytical gap between the data and
opinion offered is too great” and since it would confuse the issues, mislead the jury and unfairly
prejudice Epstein. See Norfolk Southern Corp., 279 F. Supp.2d 1250; Owaki, 491 F. Supp.2d
1140,

Dr. Reed Has No Basis to Offer Opinions Regarding Epstein

23. In addition, Dr. Reed never examined or interviewed Epstein nor did he review
any of Epstein’s medical or psychological records. The basis of Dr. Reed’s opinion regarding
Epstein’s modus operandi of grooming is based solely on inadmissible hearsay - his single
interview with Jane Doe, conversations and e-mails with Jane Doe’s counsel, the First Amended
Complaint (with RICO statement)’, a redacted’ version of the Palm Beach Police Report (“Police
Report”) and redacted Probable Cause Affidavits. Dr. Reed lacks any credible basis for his
opinion and it should therefore be excluded.

24, In Land y. State, 156 So. 2d 8, 11 (Fla. 1963), the court found that an expert’s
opinion “based solely upon information offered by third persons would be of little to no value
and inadmissible.” See also 24A FlaJur.2d, Evidence and Witnesses, $1092 (noting that “[a]n

opinion founded on an expert's scientific examination of the subject and conversations with third

 

" Jane Doe’s claim pursuant to Fla. Stat. §772.104, Civil Remedies for Criminal Practices (“RICO”) was dismissed
with prejudice by the Court on March 3, 2010 (DE #125), Thus, Dr. Reed’s reliance on the portion of the First
Amended Complaint containing the RICO statement is misplaced, and therefore one of the significant bases for his
testimony is non-existent.

* The fact Dr. Reed reviewed the redacted Police Report and Probable Cause Affidavits is significant because he
necessarily would be unable to attribute the statements of the alleged victims to the particular individuals, thereby
preventing Epstein from cross-examining Dr. Reed regarding his knowledge of other facts and evidence relative to
the other alleged victims. :
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persons is not inadmissible, in the absence of a showing that the expert's conclusion is based
substantially upon such conversations.”).

25, As stated above, Dr. Reed did not examine or interview Epstein and has not
reviewed any medical or psychological records. Any deposition testimony he may have
reviewed is of little value given that Epstein invoked his Fifth Amendment right against self-
incrimination in response to a majority of questions. The only basis for Dr. Reed’s opinion
regarding Epstein’s modus operandi is inadmissible hearsay — statements of Jane Doe,
conversations and e-mails with Jane Doe’s counsel, the First Amended Complaint (with RICO
statement), redacted versions of the Police Report and Probable Cause Affidavits. Since Dr.
Reed’s opinion is based solely upon information offered by third persons, and since he failed to
interview or conduct any psychological tests of Epstein, the Court should exclude his opinion
regarding Epstein’s modus operandi or any other opinions regarding Epstein. See Land, supra.

26. Telephone conversations and e-mails communications between Dr. Reed and Jane
Doe’s counsel (an inherently biased individual) are certainly not trustworthy and reliable sources
of information from which to formulate an opinion regarding Epstein.

27. The redacted Police Report and Probable Cause Affidavits are similarly unreliable
and also irrelevant since Dr. Reed concedes that Jane Doe was not part of the Palm Beach Police
Department’s investigation and not mentioned in the Report or Affidavits, See Reed Dep at
123-26. What other females might have said to police officers, which was summarized in the
Police Report has no bearing on Jane Doe’s claims. It is also contains double hearsay — out of
court statements from law enforcement officers purporting to summarize out of court statements

of alleged victims.
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28, Dr. Reed did not review the actual statements given by the alleged victims to the
Palm Beach Police and agreed that “there is no way for [him] to know whether or not the
information as reported by the police officer is correct.” See Reed Dep at 126-27. Dr. Reed also
agreed that the accounts given by the females as recorded in the police report “...may have been
[the officer’s] interpretation” of what was said. Id, at 130. He also did not review any
“deposition testimony, sworn testimony or medical records that relate to any other person that
may have gone to Mr. Epstein’s home....” Id. at 131.

29. Accordingly, the basis for Dr. Reed’s testimony regarding Epstein’s modus
operandi of grooming is “based solely upon information offered by third persons [and is
therefore] of little to no value and inadmissible.” See Land, 156 So. 2d at 11; Carratell, 832 So.
2d 850.

30. Dr. Reed’s entire theory about grooming is pure speculation. He did not
interview any other females, read their statements, depositions, medical records or CME reports.
While Dr. Reed attempts to explain that Epstein’s alleged grooming of other females is relevant
to Jane Doe’s damages because victims have “an unwarranted sense of guilt or responsibility that
they feel for being sexually abused themselves,” which is an “aspect of [Jane Doe’s]
symptomatology (see Reed Dep at 225 — 26), Dr. Reed never explains how the alleged grooming
of other females (gleaned from the hearsay police report and the double hearsay statements
contained therein) relates in any way to Jane Doe. On the other hand, in Jane Doe’s June 29,
2010 Motion for Writ of Habeus Corpus (DE #175), she asserted “Epsteim used the fact that
other minor girls were returning as a basis for psychologically coercing Jane Doe into returning.”
See DE#175 at 5-6. Interestingly, this novel theory was never referenced in Dr. Reed’s report

and he did not mention it in his deposition. Moreover, there is no testimony by Jane Doe that
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she was aware of how Epstein acted with other females, save for possibly LM and EW. Thus,
the entire issue of Epstein allegedly grooming other females is irrelevant.

31. For the foregoing reasons, the Court should exclude any opinions by Dr. Reed
concerning Epstein, including that Epstein groomed Jane Doe or any other female, as he lacks
any basis to offer any such opinion.

Any Testimony Regarding the Police Report or Probable Cause Affidavits
Should Be Excluded Since They Have No Bearing on Dr. Reed’s Opinions

32. The Court should prohibit Dr. Reed from testifying regarding the contents of the
Police Report or Probable Cause Affidavits as neither has any bearing on his opinions.

33. Dr. Reed testified that he relied on the Police Report and Probable Cause
Affidavits in support of his opinion regarding Epstein’s purported modus operandi of grooming.
As stated above, testimony regarding grooming and any testimony or opinion that Epstein
“groomed” any of the alleged victims should be excluded. The Police Report would therefore be
of no probative value if Dr. Reed is prohibited from testifying regarding grooming.

34. On the other hand, if the Court is inclined to permit Dr. Reed to testify regarding
grooming, he should nevertheless be prohibited from testifying to substance of the Police Report
as he would merely be a conduit for inadmissible hearsay and double hearsay.

35. Dr. Reed did not review the actual statements given by the alleged victims to the
Palm Beach Police and agreed that “there is no way for [him] to know whether or not the
information as reported by the police officer is correct.” See Reed Dep at 126-27. Dr. Reed also
agreed that the accounts given by the females as recorded in the police report “...may have been
[the officer's] interpretation” of what was said. Id. at 130. He also did not review any
“deposition testimony, sworn testimony or medical records that relate to any other person that

may have gone to Mr. Epstein’s home....” Id, at 131.
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36, Moreover, Dr. Reed reviewed a redacted version of the Police Report, so he is
unaware of the identities of the other alleged victims. As a practical matter, how could Epstein’s
counsel cross-examine Dr. Reed regarding statements in the Police Report if Dr. Reed cannot
even identify the person who allegedly made the statement?

37. In Royale Green Condo Ass’n v. Aspen Specialty Ins. Co., 2009 WL 2208166 *2
(S.D. Fla. 2009), the court held that defendant’s expert could not testify regarding the statements
of unavailable witnesses as “admission of this hearsay evidence would undermine the rules of
evidence because it ‘impermissibly permits the testifying experts to bolster their opinions and
creates the danger that the testifying expert will in fact serve as conduits for the opinions of
others who are not subject to cross examination.’” Moreover, the court reasoned that the
allowing the expert to testify regarding such statements would be duplicative of other testimony
from similar witnesses who have been deposed. Id.

38. The instant case is even more problematic because Dr. Reed has not relied on the
statements of witnesses, as in Royal Green, but rather summaries/interpretations of witness
statements contained in the police report — double hearsay. See Williams v. Consolidated City of
Jacksonville, 2006 WL 305916 *7 (M.D. Fla. 2006) (granting motion in limine to prohibit
expert from testifying to double and triple hearsay statements as they lacked reliability and were
unduly prejudicial).

39. For the foregoing reasons, the Court should prohibit Dr. Reed from testifying
regarding the contents of the Police Report or Probable Cause Affidavits.

Dr. Reed Should Be Prohibited from Criticizing the Criminal
Justice System and Testifying that Epstein Received a “Lenient” Sentence

40. The Court should exclude any testimony by Dr. Reed criticizing the criminal

justice system, the state attorney, the U.S. Attorney, the Department of Justice or any other

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governmental agency, the plea agreement between Epstein and the state attorney, or the Non-
Prosecution Agreement (“NPA”) between Epstein and the U.S. Attorney’s Office “(USAO”), as
such testimony relates to collateral issues, is not relevant to any issue in this case, would confuse
the issues and mislead the jury, would waste the court’s time and would be unfairly prejudicial to
Epstein.

41. In his report, Dr. Reed states “[t]he criminal justice system’s response ... has been
remarkably unsupportive, as evidenced by the extraordinary lenient please agreement the
government entered into with Epstein.” See Reed Report at 19. Dr. Reed concludes that the
“unsupportive” response of the criminal justice system “have served to significantly exacerbate
the harm done to [Jane Doej...” Id. at 19. Dr. Reed also asserts, without any basis, that had
Epstein “been convicted of all the criminal acts that [Jane Doe] has alleged, he very well likely
would have died in prison.” Id, at 16-17.

42, First and foremost, Dr. Reed has no basis to opine on leniency of Epstein’s
sentence. Dr. Reed is not an expert on the criminal justice system and admitted he has no
information regarding the circumstances surrounding Epstein’s plea agreement, whether the
State Attorney was inclined to prosecute Epstein, whether a grand Jury was convened or the
findings of the grand jury. See Reed Dep at 255-57. The only information Dr. Reed was privy
to was that Epstein entered into a plea agreement and that 34 other victims were identified ~
information obtained from Jane Doe’s counsel. Id. at 258. Nor has Dr. Reed ever spoken with
the USAO or attempted to determine why they entered into the NPA with Epstein. Id. at 263.
Dr. Reed’s conclusion that Epstein’s sentence was “extraordinarily lenient” was based on
conversations with Jane Doe’s counsel and conversations with a Broward County assistant state

attorney who prosecutes sex crimes and the Palm Beach Police Report. Id. Simply put, Dr.

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Reed has no basis to opine on Epstein’s plea agreement or the NPA; and Dr. Reed’s assertion
that Epstein would have died in prison if convicted of all the criminal acts against Jane Doe is
pure speculation.

43, Next, the alleged “unsupportive” response of the criminal justice system or the
“extraordinarily lenient” sentence is not relevant to any issue in this case. The government is
not a party to this civil action. Nevertheless, if the government was a party, testimony criticizing
the government would likely be inadmissible. See U.S. v. Shields, 1991 WL 236492 *3 —5
(N.D. IIL 1991) (excluding evidence and argument regarding alleged government misconduct in
course of investigation and other related investigations as said matters “would appear to have no
bearing upon the events at issue in this case, and would serve only to bog the trial down in
collateral matters.”).

44. Even if it was relevant, this evidence would only serve to improperly inflame the
jury and cause them to compensate for the purported “lenient sentence” by awarding more
compensatory damages than are supported by the evidence.

45. It would also confuse the issues and mislead the jury by implying that the
government’s actions (and the resulting plea agreement and the NPA) in the prior criminal case
are somehow relevant and should be considered by the jury in determining the issues in the
instant case.

46. Similarly, any evidence or argument that Epstein received a lenient sentence
because he is wealthy (a theme echoed in numerous media reports), should also be excluded.
Permitting this evidence would have the same unfairly prejudicial effect — implying that the jury

should consider the government’s purported leniency in determining the issues in this case.

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47. In Williams v. Consolidated City of Jacksonville, 2006 WL 305916 *9 (MLD. Fla.
2006), an employment discrimination case against the City of Jacksonville’s Fire Chief, plaintiffs
sought to introduce evidence of a prior similar lawsuit filed against the defendant to prove the
defendant’s motive for placing them on administrative leave and requiring psychological
examinations. The court granted the defendant’s motion in limine to exclude evidence of the
prior litigation concluding that it was “a collateral matter, which could confuse the issues,
mislead the jury, and lead to a mini-trial on collateral issues causing undue delay in the trial of
this case which would not relate to the discrimination alleged in Plaintiffs’ claims.” Id, at *10. 8

48. Analogous to the prior litigation against the defendant in Williams, Epstein’s prior
criminal case is an irrelevant collateral issue; allowing Jane Doe to present evidence and
argument critical of the government’s handling of the criminal case would confuse the issues and
mislead the jury.

49, If criticism of the government and the purported lenient sentence were permitted,
it would open the door to a host of irrelevant issues and “lead to a mini-trial on collateral issues
causing undue delay in the trial of this case which would not relate to the [issues] alleged in
Plaintiffs’ claims.” See Williams, supra. Epstein would have to put on evidence to rebut the
implication of leniency and delve into the minutiae of the prior criminal case to support his
position, clearly a waste of the Court’s time given the complete lack of relevance to Jane Doe’s
claims.

50. Accordingly, any evidence or argument criticizing the criminal justice system and
any comments or arguments suggesting that Epstein received a lenient sentence should be

excluded pursuant to Rules 401, 402 and 403, Fed. R. Evid., as it is irrelevant, and any possible

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relevance (which Epstein contends is none) is substantially outweighed by the danger of unfair
prejudice, confusion of issues, misleading the jury, undue delay and waste of time.
Any Criticism of Epstein’s Counsel Should be Prohibited

51. Dr. Reed also condemned Epstein’ counsel, stating that “Mr. Critton was
remarkably accusatory in his manner of grilling [Jane Doe]...” and that the deposition questions
were “grossly insensitive and unapologetically hostile....”. See Reed Report at 4, 19. Dr. Reed
asserts that the deposition questions “have served to significantly exacerbate the harm done to
[Jane Doe]...” See Reed Report at 19.

52. Had Jane Doe’s counsel believed the questioning of Jane Doe was inappropriate,
he could have adjourned the deposition and sought appropriate sanctions or directions from the
court. Alternatively, he could have filed a motion before the completion of her deposition, five
months later, or filed a motion post-deposition. No such motions were ever filed. In essence, if
Jane Doe’s own lawyer didn’t believe the questioning was inappropriate, how can Dr. Reed offer
such an opinon?

53. In Emerson Elec. Co. v. Garcia, 623 So. 2d 523, 525 (Fla. 3d DCA 1993), the
court ordered a new trial where plaintiffs counsel, in the presence of the jury, accused
defendant’s counsel of, among other things, unethical conduct during discovery. The court held
that no pretrial discovery violation was established “and, even if there had been evidence of a
violation, an appropriate sanction was a matter for the court and not for the jury. We have
ordered new trials and roundly condemned equally egregious conduct and arguments in other
cases,” Id. (Emphasis added),

54. Jane Doe is attempting to paint Epstein’s attorneys as defendants themselves.

Indeed, in his report, Dr. Reed remarks “[t]hese grossly insensitive and unapologetically hostile

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actions [deposition questions] by Jeffrey Epstein and his attorney have served to significantly
exacerbate the harm done to Jane Doe....” See Reed Report at 19 (emphasis added). Not only
is it improper, Dr. Reed has no basis to make such a conclusion as he is not a lawyer, judge or
legal expert and cannot opine on the propriety of counsel’s deposition questions. This is an
irrelevant and collateral issue intended to unduly prejudice Epstein and should therefore be
excluded.
Dr. Reed Did Not Diagnose Jane Doe and Should Be
Prohibited From Offering An Opinions that She Suffers from Any
Mental Health Disorder, or the Cost of Future Care or Treatment
55. With respect to Jane Doe’s alleged psychological damages, Dr. Reed testified:
Q. Allright. So, with regard to Jane Doe, you have reached --
your, your opinion contains no diagnosis. It's merely a description
of symptoms which you relate to her contact with Mr. Epstein; is
that a correct statement?
A. Yes. I haven't, in my report, made a specific diagnosis.
Certainly her symptom pattern is highly consistent with
posttraumatic stress disorder.
Q. But you haven't diagnosed posttraumatic stress disorder?
A. No, I haven't elected to.
See Reed Dep at 155-156.
56. Thus, Dr. Reed should be prohibited at trial from offering any diagnoses of Jane
Doe or opining that she has post-traumatic stress disorder as he clearly did not make any
diagnoses.
57. In addition, Dr. Reed did not “come up with any type of opinion as to the cost of
future care for Jane Doe [and] hafs] no opinion as to what that cost would be nor what the

present value of that cost would be.” He should therefore be prohibited from testifying regarding

the cost of future care. See Reed Dep at168.

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WHEREFORE, JEFFREY EPSTEIN respectfully requests the Court exclude the
following testimony and/or opinions of Plaintiff's, JANE DOE, expert witness, L. Dennison
Reed, Psy.D and grant any additional relief the Court deems just and proper:

a. Any testimony related to the “grooming” process as the evidence contradicts the
notion that Epstein “groomed” Jane Doe and the issue is therefore irrelevant,

b. Any testimony or opinions that Epstein “groomed” Jane Doe, or any opinion
regarding Epstein for that matter as Dr. Reed has not examined Epstein and has
no basis to offer any such opinions;

c. Any testimony regarding the Palm Beach Police Report or Probable Cause
Affidavits as they do not mention or refer to Jane Doe and are therefore irrelevant.
They also constitute inadmissible hearsay and double-hearsay;

d. Any testimony or opinions that Jane Doe has been damaged by the criminal
justice system, that Epstein received a “lenient” sentence and that Epstein would
have died in prison if convicted of all he crimes committed. These issues are
irrelevant and any purported relevance is substantially outweighed by the danger
of unfair prejudice, confusions of issues, misleading the jury, undue delay and
waste of time. More importantly, Dr. Reed is not an expert on the criminal justice
system,

e. Any testimony criticizing or disparaging Epstein’s counsel deposition questions
or suggesting that Epstein’s counsel acted improperly during discovery,

f. Any testimony or opinions regarding a diagnosis of Jane Doe as Dr. Reed testified
he did not make any diagnoses;

g. Any testimony or opinions regarding the cost of future care or treatment of Jane
Doe as Dr. Reed testified he did not make any such determination.

Local Rule 7.1 Statement
I hereby certify that counsel for the respective parties communicated in a good faith effort
to resolve the issues prior to the filing of this motion to continue. Plaintiff opposes this motion.

Respectfully submitted,

By: _/s/ Robert D, Critton, Jr.
ROBERT D. CRITTON, JR., ESQ.
Florida Bar No, 224162

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Certificate of Service

L HEREBY CERTIFY that a true copy of the foregoing was electronically filed with the

Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

day on all counsel of record identified on the following service list in the manner specified via

transmission of Notices of Electronic Filing generated by CM/ECF on this 5" day of July, 2010:

Brad Edwards, Esq.

Farmer, Jaffe, Weissing, Edwards, Fistos

& Lehrman, PL

425 N. Andrews Ave.
Suite #2

Fort Lauderdale, FL 33301
Phone: 954-524-2820
Fax: 954-524-2822

Brad@pathtojustice.com

Paul G. Cassell, Esq.

Pro Hae Vice

332 South 1400 E, Room 101
Salt Lake City, UT 84112
801-585-5202

801-585-6833 Fax

cassellp@law.utah.edu
Co-counsel for Plaintiff

Jack Alan Goldberger, Esq.
Atterbury Goldberger & Weiss, P.A.
250 Australian Avenue South

Suite 1400

West Palm Beach, FL 33401-5012
561-659-8300

561-835-8691 Fax

jagesq(@bellsouth.net
Co-Counsel for Defendant Jeffrey Epstein

By: _/s/ Robert D. Critton, Jr.

ROBERT D. CRITTON, JR., ESQ.

Florida Bar No, 224162
rerit@belclaw.com

MICHAEL J. PIKE, ESQ.

Florida Bar #617296

mpike@belclaw.com

BURMAN, CRITTON, LUTTIER & COLEMAN, LLP
303 Banyan Boulevard, Suite 400

West Palm Beach, FL 33401

561/842-2820 Phone

561/243-0164 Fax

(Co-Counsel for Defendant Jeffrey Epstein)

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